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                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
 Zhejiang Yuanzheng Auto & Motorcycle                                    CASE NUMBER:

 Accessories Co., Ltd.                                                                  2:22-cv-01692-JWH-PD

                                                          Plaintiff(s)
                                     v.
 Arex Industries, Inc.                                                    ORDER ON REQUEST FOR APPROVAL OF
                                                                           SUBSTITUTION OR WITHDRAWAL OF
                                                                                      ATTORNEY
                                                        Defendant(s).


         The Court hereby orders that the request of:

Zhejiang Yuanzheng Auto & Motorcycle Accessories Co., Ltd                               x Plaintiff Defendant Other
                     Name of Party

to substitute         Tianyu Ju                                                                                who is
        x Retained Counsel                      Counsel appointed by the Court (Criminal cases only)              Pro Se

                                          251 South Lake Ave Suite 910
                                                                  Street Address

Pasadena, CA 91101                                                                                    iris.ju@glacier.law
                             City, State, Zip                                                               E-Mail Address

(312)448-7772                                                     (312)801-4587                           323817
         Telephone Number                                         Fax Number                                State Bar Number

as attorney of record instead of                        Yu Hao Yao
                                                   List all attorneys from same firm or agency who are withdrawing




is hereby            GRANTED DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this
case.

         Dated         November 29, 2023
                                                                           U. S. District Judge, John W. Holcomb



G-01 ORDER (09/17)       ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
